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prohibited by court order. }
UNITED STATES DISTRICT COURT Southern Betsey
SOUTHERN DISTRICT OF TEXAS FILEO
BROWNSVILLE DIVISION APR 19 anes
UNITED STATES OF AMERICA § Nathan Ochsner
§ Clerk of Court
Vv. §
25-2
CRIMINALNO. 2 .. _
JAMES LAEL JENSEN § B 5 5 /
MAXWELL STERLING JENSEN §
alkfa “Max” §
KELLY ANNE JENSEN §
ZACHARY GOLDEN JENSEN §
SEALED INDICTMENT
THE GRAND JURY CHARGES:

COUNT ONE
18 U.S.C. § 1956(a)(1)(B)(i) and (h)
(Money Laundering Conspiracy)
Beginning in or about May 10, 2022, and continuing up to and including the date
of this Indictment in the Southern District of Texas and elsewhere and within the 4
jurisdiction of the Court, Defendants,
JAMES LAEL JENSEN,
MAXWELL STERLING JENSEN alk/a “Nlax",
KELLY ANNE JENSEN, and
ZACHARY GOLDEN JENSEN,

did knowingly and intentionally conspire and agree with other persons known and
unknown to the Grand Jury, fo conduct and attempt to conduct financial transactions
affecting interstate and foreign commerce, then well knowing that the financial
transactions involved the preceeds of some form of unlawful activity, to wit: smuggling
goods into the United States, knowing that the transactions were designed in whole or in
part to conceal and disguise the nature, location, source, ownership, and control of the

proceeds.

In violation of Title 18, United States Code, Section 1956(a)(1)(B)(i) and (h).

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COUNT TWO
18 U.S.C. §§ 545 and 2
(Aid and Abet Smuggling Goods into the United States) 7!
Beginning in or about May 10, 2022, and continuing up to and including the date
of this Indictment in the Southern District of Texas and elsewhere and within the

jurisdiction of the Court, Defendants,

JAMES LAEL JENSEN and
MAXWELL STERLING JENSEN a/k/a “Max”,

did fraudulently and knowingly receive, conceal, buy, sell and facilitate the transportation,
concealment, and sale of merchandise imported contrary to law, that is Title 19 U.S.C. §§
1202-1683g (“the Tariff Act”) then knowing that said merchandise had been imported and
brought into the’ United States contrary to law.
In violation of Title 18, United States Code, Sections 545 and 2.
COUNT THREE

18 U.S.C. §§ 542 and 2
(Aid and Abet Entry of Goods by means of False Statements)

Beginning in or about May 10, 2022, and continuing up to and including the date
of this Indictment in the Southern District of Texas and elsewhere and within the
jurisdiction of the Court, Defendants,

JAMES LAEL JENSEN and
MAXWELL STERLING JENSEN a/kla “Max”,

did willfully and knowingly enter and introduce, and attempt to enter and introduce, Into
the commerce of the United States, imported merchandise, that is approximately two
thousand eight hundred eighty-one (2,881) shipments of crude oil by means of a false
and fraudulent. invoice, declaration, affidavit, letter, paper, or by means of any false or
fraudulent practice which falsely and fraudulently stated that the imported merchandise
was “waste of lube oils” and “petroleum distillates", whereas, [n truth and fact, as

defendants, well knew, the said imported merchandise contained crude oil.
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. In violation of Title 18, United States Code, Sections 542 and 2.

COUNT FOUR
18 U.S.C. §§ 1956(h) and 1957
(Money Laundering Spending Conspiracy)

On or about September 22, 2023, in the Southern District of Texas and elsewhere

and within the Jurisdiction of the Court, Defendant,
KELLY ANNE JENSEN,
did knowingly and intentionally conspire and agree with other persons known and
unknown to the Grand Jury, to engage and attempt to engage in a monetary transaction
by and through a financial institution, affecting interstate commerce, in criminally derived
property of a value greater than $10,000, that is, the transfer of monetary instruments, to
wit: a cashiers check made payable to Low Book Sales, such property having been
derived froma specified unlawful activity, that is, smuggling goods into the United States..
In violation of Title 18, United States Code, Sections 1956(h) and 1957.
COUNT FIVE
18 U.S.C, § 1957
(Money Laundering Spending)

On or about May 17, 2024,.in the Southern District of Texas and elsewhere and

within the jurisdiction of the Court, Defendant,
JAMES LAEL JENSEN,

did knowingly engage and attempt to engage in a monetary transaction by and through a
financial institution, affecting interstate commerce, in criminally derived property of a value
greater than $10,000, that is, the transfer of monetary instruments, to wit: an Arrayo
Terminals, LLC check made payable to South Texas Buick - GMC, such property having
been derived from a specified unlawful activity, that is, smuggling goods into the United

States.

In violation of Title 18, United States Code, Section 1957.
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NOTICE OF CRIMINAL FORFEITURE
[18 U.S.C. § 982(a)(1)]

Pursuant to Title 18, United States Code, Section 982{a)(1), as a result of the
commission. of violations of Title 18, United States Code, Sections 1956 and 1957, as
alleged in Count One and Counts Four through Five of this Indictment, notice is given to
the defendants,

JAMES LAEL JENSEN,
MAXWELL STERLING JENSEN a/k/a “Max”,
KELLY ANNE JENSEN, and
ZACHARY GOLDEN JENSEN,
that the defendants shall forfeit to the United States any property, real or personal,

involved in such offense, or any property traceable to such property.

NOTICE OF GRIMINAL FORFEITURE
[18 U.S.C. § 982(a)(2)(B); 19 U.S.C. § 1595a; 28 U.S.C. § 2641{c)]

Pursuant to Title 18, United States Code, Section 982(a)(2}(B), Title 19 United
States Code Section 1595a, and 28 U.S.C. § 2641(c), as a result of the commission of
violations of Title 18, United States Code, Sections 542 and 545, as alleged in Counts
Two and Three of this Indictment, notice is given to the defendants,

JAMES LAEL JENSEN and
MAXWELL STERLING JENSEN afk/a “Max”,

that the defendants shall forfeit to the United States: (1) any property constituting, or
derived from, proceeds obtained directly or indirectly, as the result of a violation of
Sections 542 and 545; (2) merchandise introduced into the United States in violation of
Section 545, or the value thereof; (3) all vessels, vehicles, or other thing used in, to aid
in, or to facilitate the importation, bringing in, unlading, landing, removal, concealing,

. hatboring, or subsequent transportation of any article which is being or has been
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introduced, or attempted to be introduced, into the United States contrary to law; and (4)
any merchandise introduced; or attempted to be introduced, into the United States

contrary to law.

MONEY JUDGMENT

Defendants are notified that upon conviction, a money judgment may be imposed
equal to the total value of the property subject to forfeiture for which the defendants may
be jointly and severally liable. That amount is estimated to be, but is not limited to,

approximately $300,000,000.00 in United States currency.

PROPERTY SUBJECT TO FORFEITURE

The property subject fo forfeiture includes, but is not limited to, the following
property:

1) All funds on deposit in Wells Fargo account xxxx7403 in the name of Arroyo
Terminals, LLC;

2) All funds on deposit in Bank of America account xxxx2771 in the name of
Big Hog Energy, LLC;

3) Tank Barge with vessel name of “AT 300%” and hull number 10834374;
4) Tank Barge with vessel name of "AT 2001” and hull number 1029676;
5) Tank Barge with vessel name of "AT 1001” and hull number 1094955;

6) Tank Barge with vessel name of “AT 4001”;

7) 2015 Peterbilt 389 Tractor Truck, VIN# 1XPXD49XXFD260576, registered
to Jentran, LLC;

8} 2020 Peterbilt 389 Tractor Truck, VIN# 2XPXD49X7LM706706, registered
to Jentran, LLC;

9) 2020 Peterbilt 567 Tractor Truck, VIN# 1XPCD49X0LD649219, registered
to Jentran, LLC;

10) 2023 Chevrolet Corvette Stingray, VIN# 1G1YB3D43P5118657, registered

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fo Kelly Jensen;

11) 2024 GMC Sierra pickup truck, VIN# 1GT19XEYORF3741 18, registered to
Arroyo Terminals, LLC;

12) 2023 Mercedes-Benz Sprinter, VIN# W1Z40FHY4PT141068, registered
to Kelly Jensen;

43) Real property and improvements located at 21076 North Reynolds Road,
Rio Hondo, Cameron County, Texas with a legal description of:

Being a 12.69 acres tract of land consisting of the following
vacated land per the Cameron County Commissioners Court
Order #2007012047 and being all of "Park B", Lot 95, Lot 138,
2.64 acres of Loft 137, 0.36 acres of Lot 137 and 0.32 acres of
Lot 136 of the "Rio Hondo Park Townsite and Small Acreage
Residence Garden and Orchard Lots” as shown in Volume 2,
Page |, of the Map Records of Cameron County, Texas. Said
12.69 acres tract being more particularly described and located
as follows: Beginning at a nail set in the centerline of Reynolds
Road [40 foot wide platted road] [an apparent 80 foot wide right-
of-way] for the southeast corner of said lot 95, thence, South
88°55'00" West, at a distance of 40.00 feet to an iron rod set at
the apparent west right-of-way, a total distance of 766.60 feet to
an iron rod set in the centerline of a 40 foot wide platted road
right-of-way (no apparent roadway improvements] for the
southwest corner of said lot 95: Thence, South 1°05'00" East
along the east line of said Lot 137, a distance of 147.74 feet to
an iron pin set for a corner. Thence, South 88.55'25"00 West, a
distance of 581,02 feetto an iron rod set near the high bank of
the Arroyo Colorado fora corner; Thence, South 54°50'25" East,
a distance of 64.95 feet to an iron pin set for a corner; Thence,
South 1°07'25" West, 11 distance of 184.43 feet to a comer;
Thence, South 9°02'58" East, a distance of 98.74 feet for a
corner; Thence, South 26°30'28" East, a distance of 45.94 feet
to an iron pin set in the South line of said Lot 136 for a corner;
Thence, South 88°5S'00" West to a point in ‘the west line of said
Lot 136, a distance of 41.46 feet for a corner; Thence, along the
west line of Lots 136, 137, 138 and Park "B" the following
courses; North 8°45°00" West, a distance of 28.43 feet for a
comer; Thence, North 26°21'23" West [recorded North 26°22
West, 221.78], a distance of 222.10 feet for a corner; Thence,
North 10°39'00" West, a distance of 182.20 feet for a corner;
Thence, North 1°00'00" West, at a distance of 101.1 feet an iron
rod set for the northwest corner of said Lot 137, at an additional
234.1 feet an iron rod set for the northwest corner of said Lot
138, a total distance of 435.20 feet to a concrete monument
found for the northwest corner or Park "B"; Thence, Narth
88°55.'00" Easi, a distance of 300.00 feet to an iron pin set for
the northeast corner of said Park "B" Thence, South [00°00”

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East, a distance of 50.00 feet to an iron pin set in the centerline
of a 40- foot road easement and a corner of Lot 138; Thence,
North 88°55'00" East, a distance of 1,099.25 feet to an iron rod
set in the apparent west right-of-way of Reynolds Road, a total
distance of 1139.25 feet to a nail set in the centerline or
Reynolds Road for the northeast corner af said Lat 95; Thence,
South 1 05°00" East, a distance of 284.10 feet to the Point of
Beginning; Said described tract containing 12.469 69 acres
[552,827 square feet], more or less.

14) Real property and improvements located at 13357 S. Lake Forrest Dr.,
Draper, Salt Lake County, Utah with a legal description of:

All af Lot 614, contained within Bellevue Phase 6A, a Planned
Community, as the same is identified in the Plat Map recorded
in Salt Lake County, Utah, as Entry No. 10948958, in Book 201
OP, at Page 81, of the official records of the county recorder of
Salt Lake County, Utah (as said Record of Survey Map may
have heretofore been amended or supplemented) and in the
Declaration of Covenants, Conditions and Restrictions of
Bellevue, a Planned Community, recorded in Salt Lake County,
Utah, as Entry No. 9140466, in Book 9023, at Page 4303, of the
official records af the county recorder of Salt Lake County, Utah
(as said Declaration may have heretofore been amended or
supplemented}, together with an undivided percentage of
ownership interest in the Association.

SUBSTITUTE ASSETS

Defendants are notified that, in the event that the property that is subject to
forfeiture, as a result of any act or omission of any defendant:

(1) cannot be located upon exercise of due diligence;

(2) has been transferred or sold to, or depasited with, a third party;

(3) has been placed beyond the jurisdiction of the Court:

(4) has been substantially diminished in value; or,

(5) has been commingled with other property which cannot be divided without

difficulty,

it is the intent of the United States to seek forfeiture of any other property of the defendant

up to the value of such property, pursuant to Title 21, United States Code, Section 853(p),
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incorporated by reference in Title 28, United States Code, Section 2461(c).

A TRUE BILL:

FOREPER Bf THE GRAND JURY

NICHOLAS GANJEt
UNITED STATES ATTORNEY

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NCE WATT
ASSISTANT UNITED STATES ATTORNEY

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LAURA CIA
ASSISTANT UNITED STATES ATTORNEY

